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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION


RICHARD L. JERNIGAN,       )
                           )
   Plaintiff,              )
                           )
v.                         )                         CIVIL ACTION NO. 18-CV-344-JB-N
                           )
PALMER RECOVERY ATTORNEYS, )
PLLC,                      )
                           )
   Defendant.              )


                                  ORDER AND JUDGMENT

       This matter is before the Court on Plaintiff, Richard L. Jernigan’s Motion for Judgment by

Default and Supporting Declaration (Doc. 9). For the reasons set out below, Plaintiff’s Motion is

GRANTED.

       Plaintiff’s Complaint is brought pursuant to the Fair Debt Collection Practices Act, 15

U.S.C. § 1692 et seq (Doc. 1). The Complaint seeks, inter alia, actual damages arising from

Defendant’s violation of the Act, statutory damages of $1000.00 under § 1692k(a)(2)(A), costs,

and reasonable attorney’s fees. Id.

       In his Motion, Plaintiff prays for Judgment by Default in the total amount of $2,000.00,

consisting of a $1,000 statutory penalty and $1,000.00 for emotional distress damages. Id. The

Motion is supported by Plaintiff’s sworn declaration (Doc. 9, Exhibit B). Plaintiff’s Motion further

states that Plaintiff seeks costs and attorney’s fees to be assessed upon his submission pursuant to

§ 1692k(a)(3).

       The Supporting Declaration of Plaintiff’s counsel attests to the facts of service of the

Complaint on the sole Defendant, Palmer Recovery Attorneys, PLLC. Counsel also attests to the
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delivery of a courtesy copy of the lawsuit. Defendant was served on August 20, 2018, with a

deadline for answer of September 10, 2018 (Doc. 6). It is further attested in the Supporting

Declaration, and the record reflects, that Defendant has failed to answer or otherwise respond to

the Complaint. Default was entered by the Clerk on September 28, 2018 (Doc. 8). The Clerk

mailed a copy of the entry of default to Defendant on the same day. Id. As of the date of this

Order and Judgment, Defendant has not answered or otherwise appeared.

       Based on the foregoing and the premises set out in the Motion, it is Ordered as follows:

                                         JUDGMENT

       Plaintiff Richard L. Jernigan is awarded and shall have a JUDGMENT against Defendant

Palmer Recovery Attorneys, PPLC in the total amount of $2,000.00 (consisting of a $1,000.00

statutory penalty under § 1692k(a)(2)(A) and $1,000.00 for emotional distress damages.)


       DONE and ORDERED this 3rd day of January, 2019.



                                            s/JEFFREY U. BEAVERSTOCK
                                            UNITED STATES DISTRICT JUDGE




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